     Case 1-20-01025-jmm         Doc 25     Filed 01/25/21     Entered 01/25/21 12:05:37




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                                                                                January 25, 2021
Hon. Jil Mazer-Marino
U.S. Bankruptcy Court,
Eastern District of New York
271-C Cadman Plaza East
Brooklyn, NY 11201-1800
                                                Case Name: Gubenko v. Binkevich
                                                Case Number: 1-20-01025-jmm


Dear Honorable Judge Jil Mazer-Marino,




       Please be advised that our client, Defendant in the above referenced adversarial
proceeding, Vladimir Binkevich, does not wish to engage in mediation, but will make one final,
good faith offer to the Plaintiff, Victor Gubenko, over what has already been distributed to him
by the Chapter 7 Trustee.




Sincerely,
/s/ Alla Kachan, Esq.
Alla Kachan, Esq.
